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A0245D                                                            #759
             (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                          Southern District of Illinois

          UNITED STATES OF AMERICA
                      v.
               Jerome E. Sadler

                                                                         Case No. 4:01CR40017-06-JPG
                                                                         USM No. 05317-025
                                                                           Judith A. Kuenneke, AFPD
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below                  of the term of supervision.
D   was found in violation of condition(s)            - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                            Nature of Violation                                  Violation Ended
Statutory                       The defendant committed the offense of False Statements                       05/03/2011
                                                                                                            ·l~···.
                                                                                                              l:it!tl512ot1··
Special                         The defendant failed to call the On-Site Drug Testing Program                 07/16/2011


       The defendant is sentenced as provided in pages 2 through _ _:4:..__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8331                       12/20/2011
                                                                                             Date of Imposition of Judgment



                                                                                   ~c:!::i~
Defendant's Year of Birth:          1981

City and State of Defendant's Residence:
Marion, IL 62959
                                                                           J. Phil Gilbert                              District Judge
                                                                                                 Name and Title of Judge


                                                                             1
                                                                                  rr                      Date
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  AO 245D                                                          #760
             (Rev. 09/ll) Judgment in a Crimina] Case for Revocations
             Sheet 2- Imprisonment

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  DEFENDANT: Jerome E. Sadler
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                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
Time Served (18 days)




     D The court makes the following recommendations to the Bureau of Prisons:




     D The defendant is remanded to the custody of the United States Marshal.

     D   The defendant shall surrender to the United States Marshal for this district:
         D    at    -------- D                          a.m.      D     p.m.    on
         D    as notified by the United States Marshal.

     D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on
         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

 I have executed this judgment as follows:




         Defendant delivered on                                                       to

 at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL



                                                                               By ---~~~~~~~~~~~---­
                                                                                      DEPUTY UNITED STATES MARSHAL
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  AO 2450                                                           #761
              (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
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                                                                                                    Judgment-Page __                    4
  DEFENDANT: Jerome E. Sadler
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                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
30 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody ofthe Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  I{ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  I{ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgillent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

  I)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted penn1ssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       th~ defendant shall ':'Ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permissiOn of the court; and
  13)       as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatwn requirement.
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 AO 2450                                                          #762
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                                             SPECIAL CONDITIONS OF SUPERVISION

X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential treatment facility or residential
reentry center. Any participation will require complete abstinence from all alcoholic beverages, illegal substances, and all
other substances for the purposes of intoxication. The defendant shall pay for the costs associated with substance abuse
counseling and/ or testing based on a capay sliding fee scale approved by the United States probation Office. Capay shall
never exceed the total costs of counseling. The number of tests shall not exceed 52 in a one year period.

X Based on prior compliance issues during supervision, , the defendant shall submit his person, residence, real property,
place of business, computer, electronic communication and data storage device or media, vehicle and any other property
under her control to a search, conducted by the United States Probation Officers and such other law enforcement
personnel as the probation officer may deem advisable and at the direction of the United States Probation Officer, at a
reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of
a condition of supervision, without a warrant. Failure to submit to a search may be grounds for revocation. The defendant
shall inform any other residents that the premises may be subject to a search pursuant to this condition.
